                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                       CHIEF JUDGE MARCIA S. KRIEGER

Courtroom Deputy:   Patricia Glover       Date: April 7, 2014
Court Reporter:     Terri Lindblom

Civil Action No. 13-cv-01300-MSK-MJW

Parties:                                 Counsel:

COLORADO OUTFITTERS ASSOCIATION;         Peter J. Krumholz
COLORADO FARM BUREAU;                    Richard A. Westfall
NATIONAL SHOOTING SPORTS                 Douglas L. Abbott
FOUNDATION;
MAGPUL INDUSTRIES;                       Marc F. Colin
USA LIBERTY ARMS;
OUTDOOR BUDDIES, INC.;
WOMEN FOR CONCEALED CARRY;
COLORADO STATE SHOOTING
ASSOCIATION;                             Anthony J. Fabian
HAMILTON FAMILY ENTERPRISES, INC.,
d/b/a FAMILY SHOOTING CENTER AT          David B. Kopel
CHERRY CREEK STATE PARK;
DAVID STRUMILLO;
DAVID BAYNE;
DYLAN HARRELL;
ROCKY MOUNTAIN SHOOTERS SUPPLY;
2ND AMENDMENT GUNSMITH & SHOOTER
SUPPLY, LLC;
BURRUD ARMS INC. D/B/A JENSEN ARMS;
GREEN MOUNTAIN GUNS;
JERRY’S OUTDOOR SPORTS;
GRAND PRIX GUNS;
SPECIALTY SPORTS & SUPPLY; and
GOODS FOR THE WOODS;

            Plaintiffs

v.

JOHN W. HICKENLOOPER, Governor of the     Matthew D. Grove
State of Colorado,                        Kathleen L. Spalding
                                          Stephanie L. Scoville
                                          LeeAnn Morrill
            Defendant.
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                                   COURTROOM MINUTES


HEARING: Bench Trial - Day Six
8:43 a.m.     Court in session

Counsel present as listed above.
Witness sworn for the defendant: Daniel Webster :
8:45 a.m.    Direct examination of witness by Mr. Grove.

Oral motion in limine made by defendant. Argument.

ORDER:        Oral motion in limine is DENIED as set forth in the record.

Continued direct examination of witness by Mr. Grove.
EXHIBITS: RECEIVED:                 51, 52, 53, 54, 55, 56, 57

9:57 a.m.     Court in recess
10:25 a.m.    Court in session

Continued direct examination of witness by Mr. Grove.

Cross examination of witness by Mr. Kopel.
11:50 a.m.    Court in recess
1:22 p.m.     Court in session

Continued cross examination of witness by Mr. Kopel.

EXHIBITS: Received:          132-135

Re-direct examination of witness by Mr. Grove.
EXHIBITS: Received:          136

Witness sworn for the defendant: Ernest Moore, M.D. :
2:42 p.m.    Direct examination of witness by Ms. Scoville

EXHIBITS: Received:          45

Cross examination of witness by Mr. Krumholz.
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Re-direct examination of witness by Ms. Scoville.
3:12 p.m.     Court in recess
3:32 p.m.     Court in session

Witness sworn for the defendant: Lorne Kramer :
3:33 p.m.    Direct examination of witness by Ms. Spalding.

Cross examination of witness by Mr. Abbott.

No re-direct examination of witness.

Ronald Sloan resumes testimony. Cross examination of witness by Mr. Kopel.

The Court addresses pending matters with counsel.

ORDER:        Defendant’s Motion for Order to Close Courtroom re Oates testimony (Doc.
              #123) is WITHDRAWN; Defendant’s Motion in Limine (Doc. #144) is
              WITHDRAWN.

The parties will provide the Court with a stipulation tomorrow morning with regard to Exhibit 83
and Exhibit 84, the latter of which the Court reserves ruling as to its relevance. Exhibit 85 is
WITHDRAWN. Argument will be heard on the evidentiary issue raised as set forth in the
record.

5:10 p.m.     Court in recess

Total Time:    6 hours 7 minutes.
Trial continued.
